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PABLO FARIAS-SEGURA


                     UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,      )
                               )             CR-06-00441-GEB
          Plaintiff,           )
                               )             STIPULATION AND
                 vs.           )             [PROPOSED] ORDER
                               )
                               )
PABLO FARIAS-SEGURA,           )
                               )
          Defendant.           )
______________________________ )

      IT IS HEREBY STIPULATED between the parties, Plaintiff United States

of America, by and through United States Attorney McGregor W. Scott and

Assistant United States Attorney Jill Thomas, and Defendant Pablo Farias-Segura

thorough his attorney Jesse J. Garcia, as follows:

      Defendant Farias-Segura and the United States submit that the ends of

justice are served by the Court excluding such time, in order to permit the
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counsel a reasonable time for effective preparation, taking into account the

exercise of due diligence. 18 U.S.C. § 3161 (h)(8)(B)(iv). In particular, defense

counsel has recently received the initial discovery in this matter and additional

time is needed to review the discovery. There is also additional discovery

outstanding that has yet to be produced to the defendant, including wiretap

recordings. The parties stipulate and agree that the interests of justice served by

granting this continuance outweigh the best interests of the public and the

defendant in a speedy trial.

      It is agreed that the status conference date of June 20, 2008 be vacated and

that a new status conference date of June 27, 2008, at 9:00 a.m. be set.



Dated: June 17, 2008                    /s/ Jesse J. Garcia
                                       JESSE J. GARCIA
                                       Attorney for Defendant
                                       PABLO FARIAS-SEGURA

Dated: June 17, 2008                    /s/ Jill Thomas
                                       Authorized to sign for
                                       JILL THOMAS
                                       Assistant United States Attorney
                                       on 6/17/2008
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                                      ORDER

FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the status conference

currently set for June 20, 2008, be vacated an a new status conference be

scheduled on June 27, 2008, at 9:00 a.m., and the time under the Speedy Trial

Act should be excluded from today’s date to June 27, 2008, under Local Code

T4, Title 18, United States Code Section 3161 (h)(8)(B)(iv). The Court finds that

interests of justice served by granting this continuance outweigh the best interests

of the public and the defendant in a speedy trial.

Dated: June 17, 2008



                                    GARLAND E. BURRELL, JR.
                                    United States District Judge
